Case 18-40270-elm11 Doc 293 Filed 06/25/19          Entered 06/25/19 21:35:19     Page 1 of 2



Jay D. Ellwanger
Texas State Bar No. 24036522
jellwanger@equalrights.law
Holt Major Lackey
Texas State Bar No. 24047763
hlackey@equalrights.law
Ellwanger Law LLLP
8310-1 N. Capital of Texas Hwy., Suite 190
Austin, Texas 78731
(737) 808-2262 (phone)
(737) 808-2260 (fax)

ATTORNEYS FOR JEFFREY LINES, WILLIE
MUKES, AND THOSE SIMILARLY SITUATED

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

 In re:                                        )
                                               )
 TENET CONCEPTS, LLC,                          )        Case No. 18-40270-elm11
                                               )
                      Debtor.                  )        Chapter 11 Case
                                               )


                             WITHDRAWAL OF NOTICE OF APPEAL

TO THE HONORABLE EDWARD L. MORRIS, UNITED STATES BANKRUPTCY

JUDGE:

          Jeffrey Lines and Willie Mukes, on behalf of themselves and others similarly

situated, by and through their undersigned counsel, hereby withdraw with prejudice the

Notice of Appeal filed on June 3, 2019 [Dkt No. 281].

Dated: June 25, 2019.                        Respectfully submitted,

                                             /s/ Jay D. Ellwanger
                                             Jay D. Ellwanger
                                             Texas State Bar No. 24036522
                                             jellwanger@equalrights.law
                                             Holt Major Lackey
                                             Texas State Bar No. 24047763
                                             hlackey@equalrights.law
                                             Ellwanger Law LLLP
                                             8310-1 N. Capital of Texas Hwy., Suite 190
                                             Austin, Texas 78731
Case 18-40270-elm11 Doc 293 Filed 06/25/19         Entered 06/25/19 21:35:19       Page 2 of 2



                                           (737) 808-2262 (phone)
                                           (737) 808-2260 (fax)

                                           ATTORNEYS FOR JEFFREY LINES, WILLIE
                                           MUKES, AND THOSE SIMILARLY SITUATED


                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served upon
the parties via ECF Electronic Notice on June 25, 2019.

                                           /s/ Jay D. Ellwanger
                                           Jay D. Ellwanger
